





















Opinion issued March 10, 2011



In The

Court of
Appeals

For The

First District
of Texas

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NO. 01-10-01152-CV

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IN RE Richard Chuba, Relator



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&nbsp;

Original Proceeding on Petition for Writ of Mandamus



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&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Relator Richard Chuba has filed a
petition for writ of mandamus, complaining that the trial court refuses to (1)
accept for filing and rule on relator’s pro se motions and (2) provide relator
with copies of “any and all orders” entered in the underlying case.[1]


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Relator’s petition does not comply
with the Texas Rules of Appellate Procedure.&nbsp;
See, e.g., Tex. R. App. P.
9.5 (requiring relator to serve copy of petition on all parties); Tex. R. App. P. 52.3(a) (requiring that petition contain
complete list of all parties and counsel); Tex.
R. App. P. 52.7 (requiring relator to file mandamus record containing
all documents material to claim for relief).&nbsp;


Accordingly, we deny
relator’s petition for writ of mandamus.&nbsp;


PER CURIAM

Panel
consists of Chief Justice Radack and Justices Alcala and Bland.

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[1]
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The underlying case is Richard Chuba v. Riverside Inn, No.
2010-47535 in the 113th District Court of Harris County, Texas.&nbsp; Relator’s petition names the Honorable
Patricia Hancock as the respondent in this original proceeding.&nbsp; Judge Hancock is no longer the presiding
judge of the 113th District Court; the Honorable John Donovan is now the
presiding judge of that court.&nbsp; Pursuant
to Texas Rule of Appellate Procedure 7.2, Judge Donovan is substituted for
Judge Hancock as respondent.&nbsp; See Tex.
R. App. P. 7.2(a).&nbsp; Given our
disposition of relator’s petition, we will not abate this original proceeding
for reconsideration of relator’s complaints by Judge Donovan.&nbsp; See Tex. R. App. P. 2, 7.2(b).&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 







